                         Case 8:13-bk-01017-CPM            Doc 28      Filed 04/29/13      Page 1 of 1
                        UNITED STATES BANKRUPTCY COURT
                           MIDDLE DISTRICT OF FLORIDA


                                          PRO MEMO

                                                                04/29/2013 01:30 PM

                                                                COURTROOM 8B

HONORABLE CATHERINE MCEWEN
CASE NUMBER:                                                    FILING DATE:

8:13-bk-01017-CPM                         7                       01/28/2013

Chapter 7

DEBTOR:                John Salov



DEBTOR ATTY:           Russell Koss

TRUSTEE:               Shari Jansen

HEARING:

Motion to Void Receiver Sale and Transfer Assets to Trustee in Bankruptcy. Filed by Russell Koss on behalf of
                      Debtor John Salov (Koss, Russell) Modified on 2/25/2013 (Lewis, Bernadette). Doc #14; Opposition 26)



APPEARANCES::
Keith Appleby; Larry Hyman; Russell Koss; Lynn Sherman..
WITNESSES:

EVIDENCE:

RULING:
Motion to Void Receiver Sale and Transfer Assets to Trustee in Bankruptcy. Filed by Russell Koss on behalf of
Debtor John Salov (Koss, Russell) Modified on 2/25/2013 (Lewis, Bernadette). Doc #14; Opposition 26)...DENIED AS
MOOT...ORDER BY APPLEBY...
Proposed Orders, if applicable, should be submitted within three days after the date of the hearing - Local Rule 9072-1(c). Orders
not submitted by the time of closing will result in motions/objections/applications being denied as moot. This docket
entry/document is not an official order of the Court.




                                   Case Number 8:13-bk-01017-CPM                      Chapter 7
